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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                    CASE NO.: 1:23MJ-00042

UNITED STATES OF AMERICA,

vs.

MICHAEL DANIELE,

               Defendant.

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                MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE



       Pursuant to Local Rule 83.2(d), Defendant moves for the admission and appearance of

attorney Stuart N. Kaplan pro hac vice in the above entitled action. This motion is supported by

the Declaration of Stuart N. Kaplan, filed herewith. As set forth in Mr. Kaplan’s declaration, he

is admitted and an active member in good standing in the following courts and bars: State of New

York Bar, State of Florida Bar, Southern District of New York, Eastern District of New York,

Northern District, Middle District and Southern District of Florida, and Eleventh Circuit Court of

Appeals. This motion is supported and signed by Robert Corn-Revere, an active and sponsoring

member of the Bar of this Court.

       Dated this 1st day of March, 2023.

                                             Respectfully Submitted




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